




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS



)
	

TAYLOR MADDOX,)
		   No. 08-02-00133-CV

)


			Appellant,)
			Appeal from

)
	

v.)
		      65th District Court

)


TEXAS DEPARTMENT OF PROTECTIVE)
		 of El Paso County, Texas

AND REGULATORY SERVICES,)


	)
		        (TC# 96CM6502)

			Appellee.)



MEMORANDUM OPINION



	This appeal is before the court on its own motion for determination of whether it should be
dismissed for want of prosecution.  Finding that the Appellant has failed to file a brief or respond
to our inquiry letter, we dismiss the appeal.

FACTS


	On October 23, 2003, this Court informed Appellant by letter that his brief was past due and
no motion for extension of time had been filed.  The Court advised Appellant that his appeal would
be dismissed unless he responded within ten days and provided a reason why the appeal should be
continued.  See Tex.R.App.P. 38.8.  No reply has been filed.

	This court possesses the authority to dismiss an appeal for want of prosecution when
appellant has failed to file his brief in the time prescribed, and gives no reasonable explanation for
such failure.  Tex.R.App.P. 38.8(a)(1); Elizondo v. City of San Antonio, 975 S.W.2d 61, 63
(Tex.App.--San Antonio 1998, no writ).  We have given notice of our intent to do so, requested a
response if a reasonable basis for failure to file the brief exists, and have received none.  We see no
purpose that would be served by declining to dismiss this appeal at this stage of the proceedings. 
Pursuant to Tex.R.App.P. 42.3(c) and 38.8(a)(1), we dismiss the appeal for want of prosecution.



January 29, 2004					                                                                         
							ANN CRAWFORD McCLURE, Justice


Before Panel No. 2

Barajas, C.J., McClure, and Chew, JJ.



